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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


LEAGUE OF UNITED LATIN
AMERICAN CITIZENS, et al.,

                    Plaintiffs,
                                             Civil Action No. 25-0946 (CKK)
      v.

EXECUTIVE OFFICE OF THE
PRESIDENT, et al.,

                     Defendants.


DEMOCRATIC NATIONAL
COMMITTEE, et al.,

                    Plaintiffs,              Civil Action No. 25-cv-0952 (CKK)
      v.

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                Defendants.


LEAGUE OF WOMEN VOTERS
EDUCATION FUND, et al.,

                    Plaintiffs,              Civil Action No. 25-0955 (CKK)
      v.

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                Defendants.




 [PROPOSED] ORDER GRANTING DEMOCRATIC PARTY PLAINTIFFS’ MOTION
                   FOR PRELIMINARY INJUNCTION
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Upon consideration of Democratic Party Plaintiffs’ Motion for a Preliminary Injunction; the

statement of points and authorities, declarations, and other materials submitted in support; the

Court finds that the Democratic Party Plaintiffs are likely to succeed on the merits of their claims

that Section 2(a), Section 2(b), Section 2(d), Section 7(a), and Section 7(b) of Executive Order

14248 are unlawful; that the Democratic Party Plaintiffs will imminently suffer irreparable harm

in the absence of preliminary injunctive relief; that the balance of equities and public interest favor

granting preliminary relief; and that because the injunction carries no risk of monetary loss to

Defendants, a security payment is not required. Therefore, it is hereby:

   1) ORDERED that Democratic Party Plaintiffs’ Motion for a Preliminary Injunction is

       GRANTED; it is further

   2) ORDERED that Defendants Election Assistance Commission and its Chairman Donald L.

       Palmer, and Commissioners Benjamin W. Hovland, Thomas Hicks, and Christy

       McCormick, in their official capacities as Commissioners, are preliminarily enjoined from

       implementing or giving effect to Section 2(a) of Executive Order 14248; it is further

   3) ORDERED that the U.S. Department of Homeland Security and Kristi Noem, in her

       official capacity as Secretary of the U.S. Department of Homeland Security, are

       preliminarily enjoined from implementing or giving effect to Section 2(b)(i) of Executive

       Order 14248; it is further

   4) ORDERED that the U.S. Department of State and Marco Rubio, in his official capacity as

       Secretary of the U.S. Department of State, are preliminarily enjoined from implementing

       or giving effect to Section 2(b)(ii) of Executive Order 14248; it is further

   5) ORDERED that the U.S. Department of Homeland Security; Kristi Noem, in her official

       capacity as Secretary of the U.S. Department of Homeland Security; the Department of

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     Government Efficiency; and Amy Gleason, in her official capacity as Acting Administrator

     of the Department of Government Efficiency, are preliminarily enjoined from

     implementing or giving effect to Section 2(b)(iii) of Executive Order 14248; it is further

  6) ORDERED that the U.S. Department of Defense, U.S. Department of Veterans Affairs,

     U.S. Department of the Interior, and the U.S. Small Business Administration—along with

     their leaders Secretary Peter Hegseth, Secretary Douglas Collins, Secretary Douglas

     Burgum, and Administrator Kelly Loeffler, in their official capacities as leaders of those

     entities—are preliminarily enjoined from implementing or giving effect to Section 2(d) of

     Executive Order 14248; it is further

  7) ORDERED that the U.S. Department of Justice and Attorney General Pamela Bondi, in

     her official capacity as U.S. Attorney General, are preliminarily enjoined from

     implementing or giving effect to Section 7(a) of Executive Order 14248; it is further

  8) ORDERED that the Election Assistance Commission and its Chairman Donald L. Palmer,

     and Commissioners Benjamin W. Hovland, Thomas Hicks, and Christy McCormick, are

     preliminarily enjoined from implementing or giving effect to Section 7(b) of Executive

     Order 14248.



SO ORDERED.

Dated: ______________                        ______________________________________
                                             Hon. Colleen Kollar-Kotelly
                                             United States District Judge




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